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NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
VS. Case No.: 22-cr-00115-JFH
WAIVER OF INDICTMENT
Donnie B Pearson,
Defendant.

I understand that I have been accused of one or more offenses punishable by imprisonment for more

than one year. I was advised in open court of my rights and the nature of the proposed charges against me.
After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution

by information.

Date: 12/21/2022 Oral Consent
Donnie B Pearson, Defendant

Oral Consent
Attorney for Defendant

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Jodi F[Zayne, U.S. Magistrate Judge

Arraignment on Felony Information (7/2021)
